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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                            MIDLAND/ODESSA DIVISION


VIRTAMOVE, CORP.,

                     Plaintiff,                    Case No. 7:24-cv-00033

              v.                                   JURY TRIAL DEMANDED

GOOGLE LLC,

                     Defendant.



               PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT

       In accordance with Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 112.4,

Plaintiff states that no publicly held company owns 10% or more of VirtaMove, Corp.’s stock.

 Dated: January 31, 2024                           Respectfully submitted,

                                                   /s/ Reza Mirzaie

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